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 4
     Attorney for Defendant, PAUL WHITMORE
 5
 6                         UNITED STATES DISTRICT COURT
 7                         EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,   )              CASE NO: CRF-02-5301 OWW
                                 )
10            Plaintiff,         )
                                 )              STIPULATION AND ORDER
11        v.                     )              TO CONTINUE SENTENCING
                                 )
12   PAUL WHITMORE,              )
                                 )
13            Defendant.         )
     ____________________________)
14
          The parties hereto, by and through their respective attorneys, stipulate and
15
     agree that the hearing scheduled for January 29, 2007 be continued until
16
     February 26, 2007 at 1:30 p.m. in the above-entitled court.
17
          This stipulation is necessitated to allow the government additional time to
18
     investigate averments in Mr. Whitmore’s Motion to Withdraw Waiver of Jury Trial.
19
          The parties also agree that any delay resulting from this continuance shall
20
     be excluded in the interest of justice pursuant to 18 U.S.C. §§3161(h)(1)(F),
21
     3161(h)(8)(A) and 3161(h)(8)(B)(I).
22
23
     DATED: January 24, 2007            /s/ David Gappa                  __
24                                      DAVID GAPPA
                                        Assistant United States Attorney
25                                      This was agreed to by Mr. Gappa
                                        via telephone, on January 24, 2007
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 1   DATED: January 24, 2007            /s/ Roger K. Litman
                                        ROGER K. LITMAN
 2                                      Attorney for Defendant
                                        PAUL WHITMORE
 3
 4
 5                                      ORDER
 6        The court having considered the stipulation of the parties and GOOD CAUSE
 7   APPEARING, the court now orders that the sentencing hearing currently scheduled
 8   for January 29, 2007, be continued to February 26, 2007 at 1:30 p.m.
 9
     IT IS SO ORDERED.
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     Dated: January 26, 2007                /s/ Oliver W. Wanger
11   emm0d6                            UNITED STATES DISTRICT JUDGE
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